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EXHIBIT G
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SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Person of: CASE NO. BP 40% § 10
BRITNEY JEAN SPEARS, DECLARATION OF JAMES P. SPEARS
IN SUPPORT OF EX PARTE
Proposed Conservatee. APPLICATION FOR ORDER FINDING

GOOD CAUSE FOR EXCUSING NOTICE
OF HEARING ON PETITION FOR

APPOINTMENT OF TEMPORARY
CONSERVATOR OF THE PERSON

Date: February 1, 2008
Time: 10:30 a,
Department:

l

JAMES SPEARS DECL. ON APPS. RE CONSERVATOR OF THE ESTATE

Case 2

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DECLARATION OF JAMES P. SPEARS

I, James P. Spears, declare as follows:

1. J am the natural father of Britney Jean Spears, the proposed conservatee. The
statements contained in this declaration are based personal knowledge and experience. If called as
a witness, I could and would competently testify to the facts stated herein.

2. Early on the morning of January 31, 2008, Britney was admitted to UCLA Medical
Center on a 5150, a 72-hour psychiatric hold.

3. On January 31, 2008, despite instructions given by my wife Lynne Spears and me,
Osama (“Sam”) Lutfi was allowed to visit Britney at the hospital.

4. Based upon my observation of Britney’s emotional and psychological condition
and her dealings with Mr. Lutfi, I believe that Britney is incapable of keeping information from
Mr. Lutfi. In particular, I believe that, if she knew that I was planning to seek a conservatorship
for her, she would tell Mr. Lutfi about the planned conservatorship.

I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct. Executed on this | day of February 2008 at Los Angeles,

California. Lust L Scenes

James P. Spears “

l

DECLARATION OF JAMES P. SPEARS IN SUPPORT OF EX PARTE APPLICATION FOR APPOINTMENT OF
TEMPORARY CONSERVATOR

